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 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )    Case No. S-11-354 LKK
                                      )
12                      Plaintiff,    )
                   v.                 )    ORDER FOLLOWING COMPETENCY HEARING
13                                    )    PURSUANT TO 18 U.S.C. § 4241
     EVARISTO ARREOLA VENTURA,        )
14                                    )    Date: July 30, 2013
                        Defendant.    )    Time: 9:15 a.m.
15                                    )    Court: Hon. Lawrence K. Karlton
                                      )
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18        This matter came before the Court on July 30, 2013, pursuant to
19   18 U.S.C. § 4241, for a hearing following receipt of a psychiatric
20   report as to Defendant Evaristo Arreola Ventura’s competency to
21   stand trial.       Attorney Dina Santos appeared on behalf of her
22   client, who was personally present and assisted by the Spanish
23   interpreter.   Assistant U.S. Attorney Todd D. Leras represented the
24   government.    Counsel for both sides acknowledged receipt of a
25   written psychiatric evaluation of defendant, dated July 23, 2013,
26   prepared by Diomaris Jurecska, Psy.D., Neuropsychology Testing
27   Assistant, and Patricia Perez-Arce, Ph.D., Clinical
28   Neuropsychologist (the “Perez-Arce Report”).        The Court inquired

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 1   whether either party desired a contested hearing on the issue of
 2   competency as provided in 18 U.S.C. §§ 4241(c) and 4247(d).           Counsel
 3   for both parties submitted the matter based on the information in
 4   the Perez-Arce report.    Defense counsel further requested that the
 5   Court authorize appropriate medical treatment of defendant as
 6   indicated in the Perez-Arce report.
 7        The Court thereafter found by a preponderance of the evidence,
 8   as required in 18 U.S.C. § 4241(d), that defendant is presently
 9   suffering from a mental disease or defect rendering him mentally
10   incompetent to assist properly in his defense.        The Court ordered
11   defendant committed to the custody of the Attorney General for
12   hospitalization and treatment at a suitable facility for a period of
13   time not to exceed four months as provided in 18 U.S.C. §
14   4241(d)(1).   Custodial authorities are authorized to take
15   appropriate steps to address defendant’s medical issues, including
16   administering treatment and medication as prescribed by custodial
17   medical staff.
18        The Court further ordered the government to submit a report as
19   required in 18 U.S.C. § 4241(d)(1), on or about November 19, 2013,
20   as to whether there is a substantial probability that in the
21   foreseeable future defendant will attain the capacity to permit the
22   proceedings to go forward.     A status conference was scheduled for
23   November 26, 2013, at 9:15 a.m.      The Court found excusable delay for
24   bringing the matter to trial under the Speedy Trial Act because the
25   delay results from defendant being mentally incompetent to stand
26   trial as specified in 18 U.S.C. § 3161(h)(4) (period of mental
27   incompetence to stand trial) and Local Code N.
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 1                                         ORDER
 2           The Court, having determined by a preponderance of the evidence
 3   that defendant is presently suffering from a mental disease or
 4   defect rendering him mentally incompetent to assist in the
 5   preparation of his defense, hereby orders the following:
 6           1.   Defendant is committed to the custody of the Attorney
 7   General for hospitalization and treatment in a suitable facility for
 8   such a reasonable period of time, not to exceed four months, as is
 9   needed to determine whether there is a substantial probability that
10   in the foreseeable future he will attain the capacity to permit the
11   proceedings in this matter to go forward;
12           2.   The facility selected by the Attorney General shall provide
13   government counsel, Assistant United States Attorneys Todd D. Leras,
14   with a written report evaluating the probability of defendant’s
15   restoration to competence as soon as such a determination can
16   reasonably be made, on or about November 19, 2013;
17           3.   The government shall provide the Court with a written
18   report regarding the prospect of defendant’s restoration to
19   competence as soon as such a determination can reasonably be made,
20   on or about November 19, 2013;
21           4.   This matter is set for a status conference regarding
22   defendant’s restoration to competency on November 26, 2013, at 9:15
23   a.m.;
24           5.   Custodial medical staff are authorized to administer
25   prescribed medication and treatment to defendant to address his
26   medical issues; and
27   / / /
28   / / /

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 1        6.   Time under the Speedy Trial Act is excluded from the period
 2   of July 30, 2013, up to and including November 26, 2013, under 18
 3   U.S.C. § 3161(h)(4) and Local Code N.
 4        IT IS SO ORDERED.
 5   DATED: July 30, 2013
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